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                                                                                                            E-FILED
                                                                               Wednesday, 16 June, 2021 04:44:23 PM
                                                                                       Clerk, U.S. District Court, ILCD
                                         IN THE UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF ILLINOIS
                                                 SPRINGFIELD DIVISION

                        UNITED STATES OF AMERICA,

                            Plaintiff,

                                  v.                                   No.: 19-CR-30067

                        TODD SHEFFLER,
                        WILLIE HEDDEN, and
                        ALEX BANTA

                            Defendant.


                                           DEFENDANT BANTA’S
                                 FINAL PRETRIAL CONFERENCE SUBMITTALS

                            Defendant ALEX BANTA, by attorneys, and pursuant to the

                    Court’s Standing Order On Final Pretrial Conferences, Exhibits, and

                    Jury Instructions, submits the following documents and statements:

                            1.     Statement of the Case:          Traditionally the Government

                    proposes the Statement of the Case for Defendants’ review. As of this

                    filing Defendant Banta has not received the Government’s proposed

                    statement of the case.

                            2.    Defendant Banta’s Witness List: Defendant Banta is filing

                    his witness list separately so that it is filed under seal as required by



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                    the Court’s Order. Defendant Banta reserves the right to amend this

                    witness list.

                          3.    Defendant Banta’s Exhibit List:      Defendant is separately

                    filing his exhibit list along with the filing of this Submittal. Defendant

                    reserves the right to amend this exhibit list. In view of the shortness

                    of time since this case was transferred to be heard by Your Honor,

                    and given the schedule of Government’s counsel, neither Defendant

                    Banta’s counsel, Defendant Sheffler’s counsel, nor the Government’s

                    counsel have had the opportunity to confer about their respective

                    exhibit lists.

                          4.    Demonstrative Exhibits:        Other than photographs and

                    videos listed on Defendant Banta’s Exhibit List, Defendant Banta is

                    not presently planning on using any demonstrative exhibits, but

                    reserves the right to do so depending upon the Government’s case.

                          5.    Stipulations: At present there are not stipulations. On

                    May 9, 2021, Defendant Banta’s counsel requested Government’s

                    counsel to advise of any proposed stipulations, but to date has

                    received no response from Government’s counsel.

                          6&7. Jury Instructions:       Defendant is separately filing his

                    proposed jury instructions (both with cited authority and clean
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                    versions) along with the filing of this Submittal. Most likely these

                    instructions may be duplicative of the Government’s proposed

                    instructions. On May 9, 2021, Defendant Banta’s counsel requested

                    Government’s counsel to send its proposed jury instructions for

                    review, but to date has received no response from Government’s

                    counsel.

                            8.   Non-Routine Voir Dire Questions:         On June 1, 2021,

                    Defendant Banta filed with the Court and served Government and

                    Defendant Sheffler’s counsel with Defendant Banta’s Proposed Voir

                    Dire Questions – see docket entry #87.

                            9.   Depositions:   There are no depositions at issue in this

                    case.

                            10. Pretrial Motions:   Defendant Banta has previously filed

                    with the Court and served Government and Defendant Sheffler’s

                    counsel the following pretrial motions:

                            A. Defendant Banta’s Santiago Motion, filed June 1, 2020 (d/e
                               #46)

                            B. Defendant Banta’s Motion In Limine No. 1, filed January 6,
                               2021 (d/e #58)- Bruton Motion Directed to Co-Defendant
                               Hedden

                            C. Defendant Banta’s Motion In Limine No. 2, filed June 1, 2021
                               (d/e #80)- Omnibus Evidentiary Motion
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                        D. Defendant Banta’s Motion In Limine No. 3, filed June 1, 2021
                           (d/e #80)- Sequester Witnesses/Adverse Witnesses/Racial
                           Motivation/Police Databases/Violations of IDOC Rules

                        E. Defendant Banta’s Motion In Limine No. 4, filed June 1, 2021
                           (d/e #82)- Directed to Government Expert Dr. Norfleet

                        F. Defendant Banta’s Motion In Limine No. 5, filed June 1, 2021
                           (d/e #83)- Directed to Government Expert Dr. Collier

                        G. Defendant Banta’s Motion In Limine No. 6, filed June 1, 2021
                           (d/e #84)- Bruton Motion Directed to Co-Defendant Sheffler

                        H. Defendant Banta’s Motion In Limine No. 7, filed June 1, 2021
                           (d/e #85)- Directed to Testimony About Knowledge of
                           Cameras

                        I. Defendant Banta’s Motion For Leave To File Under Seal, filed
                           June 1, 2021 (d/e #86)- Directed to Autopsy Photos, Medical
                           Records, Dr. Collier Video Interview


                                                          ALEX BANTA, Defendant,


                                                     By:_/s/Stanley N. Wasser ________
                                                        Stanley N. Wasser, #2947307
                                                        One of His Attorneys
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                                            CERTIFICATE OF SERVICE

                              I hereby certify that on June 16, 2021, I electronically filed the
                        foregoing with the Clerk of the Court using the CM/ECF system which
                        will send notification of such filing to the following:

                                   Timothy A Bass         tim.bass@usdoj.gov

                                   William L Vig          bill@vig-law.com

                                   Mark Wycoff           mark@wycofflaw.com

                                   James Elmore          elmoreandreid@sbcglobal.net


                        and I hereby certify that I have mailed by United States Postal Service
                        the document to the following non-CM/ECF participants:

                                   Not Applicable



                                                            By:_/s/Stanley N. Wasser ________
                                                               Stanley N. Wasser, #2947307
                                                               One of His Attorneys
                                                               FeldmanWasser
                                                               1307 South Seventh Street
                                                               Springfield, IL 62703
                                                               217-544-3403
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